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                       UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS


UNITED STATES                        )
                                     )         CRIMINAL ACTION NO.
             v.                      )         10-10440-DPW
                                     )
MICHAEL WILLIAMS,                    )
                                     )
                   Defendant.        )

 ----------------------------------------------------------------

UNITED STATES                        )
                                     )         CRIMINAL ACTION NO.
             v.                      )         13-10023-DPW
                                     )
MICHAEL E. MCLAUGHLIN,               )
                                     )
                   Defendant.        )


                            MEMORANDUM AND ORDER
                              September 5, 2013

     The defendants in these two separate cases pleaded guilty to

the charges against them.        After their respective judgments

entered, each failed to file a notice of appeal in a timely

fashion.1     Both thereafter moved for an extension of time to file

a notice of appeal despite the expiration of the 14 day appeal

period.     In each case, the defendant was apparently uncertain

during the 14 day period and for some time thereafter whether he

would appeal.      After considering the application of the

requirements governing extensions of time to file a notice of



     1
       Neither defendant entered into a plea agreement containing
a waiver of the right to appeal.

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appeal under the Federal Rules of Appellate Procedure and finding

that the defendant Williams has not complied with either the

letter or the spirit of those rules while the defendant

McLaughlin has, I will deny the motion of the defendant Williams

in Criminal No. 10-10440-DPW, but allow that of defendant

McLaughlin in Criminal No. 13-10023-DPW.        This joint memorandum

is designed to provide a comparative discussion of the

requirements for extensions of time to file notices of appeal in

criminal cases.

                                 I.
                      UNITED STATES V. WILLIAMS
                   CRIMINAL ACTION NO. 10-10440-DPW

     Defendant Michael Williams pleaded guilty to a variety of

drug offenses and related crimes.        On March 28, 2013, I imposed a

sentence of 180 months of imprisonment to be followed by 5 years

of supervised release.    At Williams’ request, I stayed entry of

judgment and thus execution of the sentence until May 17, 2013 in

order to permit him to remain, albeit in the detainee status in

which he had been held since his arrest at the beginning of the

case, in a facility near his home while his family confronted

medical challenges.

     Under Fed. R. App. P. 4(b)(1), Williams was required to file

a notice of appeal within 14 days after the entry of the judgment

on Friday, May 17.    Fed. R. App. P. 26(a)(1) provides that the

designated period begins the day after the triggering event and


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includes all days thereafter (including weekends and legal

holidays), but if the last day of the period falls on a weekend

or legal holiday then the period continues to run until the end

of the next business day.     Williams was thus required to file a

notice of appeal by Friday, May 31.       He did not file notice at

that time.

     On July 1, Williams moved for an extension of time until

July 5 to file a notice of appeal.       I denied the motion because

it sought to extend the time for filing beyond that allowed by

Fed. R. App. P. 4(b)(4), which provides:

     Upon a finding of excusable neglect or good cause, the
     district court may –- before or after the time has expired,
     with or without motion and notice –- extend the time to file
     a notice of appeal for a period not to exceed 30 days from
     the expiration of the time otherwise prescribed by this Rule
     4(b).

Measuring 30 days from May 31, I retained discretion under Rule

4(b)(4) to extend the time period for filing a notice of appeal

until Sunday, June 30.    Because the last day of that period was a

Sunday, the period of authorization extended to Monday, July 1.

I thus was not authorized to allow any extension of time to file

beyond July 1 –- including Williams’ requested date of Friday,

July 5.

     Williams has now moved for reconsideration of my denial.

Although the question of timeliness is framed on reconsideration




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differently than in my initial ruling,2 I continue to decline to

extend the time for filing notice of appeal (a) because I believe

I do not have the authority to do so; and moreover, in the

alternative, should I have authority (b) because I decline to

exercise whatever discretion I may have to extend the period in

which to appeal for this defendant, who had had over three months

to consider and determine whether to pursue that course of action

before the authorized time period for doing so ran out.

                                    - A -

     The insuperable difficulty regarding timing is as follows:

although Rule 4(b)(4) limits even the judicially-extended period

for filing a notice of appeal, courts have been willing to treat

a motion to extend as a notice of appeal “so long as the function

of notice is met by the filing of a paper indicating an intention

to appeal.”     Fed. R. App. P. 3(c) advisory committee’s note

(1979); see Isert v. Ford Motor Co., 461 F.3d 756, 762 (6th Cir.

2006) (collecting cases).        Williams thus could have complied with

the extended 30-day period allowed by Rule 4(b)(4) if his July 1

motion to extend could be treated as a notice of appeal within

the authorized time.

     2
       I was initially in error by acting on the assumption that
I had no authority to extend the period for filing a notice of
appeal beyond June 30. Because June 30 was a Sunday, the last
day on which I could authorize a notice of appeal to be filed was
July 1. The defendant, however, sought to extend the filing date
to July 5, which was plainly a date beyond my authority to
permit.

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     But treating Williams’ motion to extend as a timely notice

of appeal would be inappropriate.        On its face, his last-minute

request for an extension indicated at most that Williams would

finally be prepared to decide by July 5 whether to appeal.              The

Eleventh Circuit has held that a “motion for more time to appeal

indicates uncertainty as to whether the party will in fact appeal

and compels the conclusion that the notice of appeal is something

yet to be filed.”   Harris v. Ballard, 158 F.3d 1164, 1166 (11th

Cir. 1998).   I cannot find that Williams’ motion – for leave to

extend the period for appealing to a date more than 30 days from

the expiration of the time otherwise prescribed by Fed. R. App.

P. 4(b)(1) – constitutes an effective notice of appeal in a

timely fashion.

                                 - B -

     In any event, even if I were to determine that Williams’

motion to extend until July 5 should be treated – against its

plain terms – as a notice of appeal within the prescribed time, I

nevertheless find no “excusable neglect” or “good cause” to

justify extending the time.     A determination as to excusable

neglect

     is at bottom an equitable one, taking account of all
     relevant circumstances surrounding the party's omission.
     These include . . . the danger of prejudice to the
     [non-moving party], the length of the delay and its
     potential impact on judicial proceedings, the reason for the
     delay, including whether it was within the reasonable
     control of the movant, and whether the movant acted in good
     faith.

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Graphic Commc'ns Int'l Union, Local 12-N v. Quebecor Printing

Providence, Inc., 270 F.3d 1, 5 (1st Cir. 2001) (alterations in

original) (quoting Pioneer Inv. Servs. Co. v. Brunswick Assocs.

Ltd. P'ship, 507 U.S. 380, 395 (1993)).       Central among these

considerations is that there be a “satisfactory explanation for

the late filing.”   Id.   Indeed, the First Circuit has explicitly

endorsed the notion that “[t]he four Pioneer factors do not carry

equal weight,” and that “the excuse given for the late filing

must have the greatest import.”      Hosp. del Maestro v. N.L.R.B.,

263 F.3d 173, 175 (1st Cir. 2001) (“the reason-for-delay factor

will always be critical to the inquiry”) (quoting Lowry v.

McDonnell Douglas Corp., 211 F.3d 457, 463 (8th Cir. 2000)).

     Williams attributes his belated filing to difficulties in

communicating with counsel as a result of his custodial

relocation.   That excuse is significantly overstated here.             A

review of the defendant’s whereabouts after sentence was

pronounced on March 28 demonstrates that there is no reason he

should have needed until July 1 - let alone July 5 – to decide to

file his motion to extend the time for filing his notice of

appeal.

     Williams remained at the Norfolk County Jail after his

sentence was announced on March 28 until he was moved to Wyatt

Detention Facility in Rhode Island on June 6, some 20 days after

the judgment and commitment order was entered on May 17.          The


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basic appeal period thus had run while he was kept in facilities

customarily used in this District to house pre-trial detainees.

On June 14, Williams was transported to MDC Brooklyn, New York

and then to FCI Elkton, Ohio on June 18.       Williams says he could

not communicate with counsel while “in transit” from the Norfolk

Correctional Facility to MDC Brooklyn for a week in early June.

Once he arrived at MDC Brooklyn, he was on 24-hour lockdown due

to the presence of a co-defendant at the facility, and thus

unable to communicate with counsel.       As a result, he argues, he

and his counsel “only recently” have been able to communicate

regarding his rights of appeal since the sentence was entered.

The record does not support that characterization.

     However, even assuming Williams faced some special

difficulties in communicating with counsel after he was moved out

of state, he had an uninterrupted period of nearly three weeks at

the Norfolk County Jail for discussion between the entry of his

sentence on May 17 and his transfer to Wyatt on June 6.          Williams

offers no explanation why this was insufficient time, even

putting to one side the additional week spent at Wyatt, a

customary and accessible facility for federal detainees in this

District, to confer with counsel and to prepare a simple notice

of appeal.

     Nor, as an equitable factor, will I ignore the additional

month-and-a-half he had to confer with counsel while at the


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Norfolk County Jail, due to my stay of entry of the judgment from

March 28 to May 17. True, the formal deadlines for filing a

notice of appeal ran from May 17 when the judgment and commitment

order entered.3     But equity does not require providing yet

additional time beyond those formal deadlines when Williams and

counsel already had an unusually long time between the imposition

of his sentence and its execution to reflect upon and prepare to

act regarding his rights of appeal.

                                     - C -

     Finding no satisfactory explanation why Williams would need

even a day beyond the May 31 deadline to file a notice of appeal,

let alone more than another month thereafter, I will reaffirm

upon reconsideration my earlier denial of Williams’ motion to

extend by denying the motion for reconsideration.

                                   II.
                       UNITED STATES V. MCLAUGHLIN
                     CRIMINAL ACTION NO. 13-10023-DPW

     Defendant Michael E. McLaughlin pleaded guilty to making

false statements to the federal government.           I announced a

sentence of 36 months incarceration on July 17, 2013 and the

judgment and commitment order entered that day.

     3
       There was no prospect that the judgment to be entered
would differ from the oral pronouncement. Indeed, any written
judgment that deviated from the sentence announced in open court
would be disregarded and the oral statement would control. See
U.S. v. Flemmi, 402 F.3d 79, 96 n.26 (1st Cir. 2005). Thus,
Williams knew with certainty what sentence would be reflected in
the judgment when he heard it announced in open court.

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        Under Fed. R. App. P. 4(b)(1), a notice of appeal by

McLaughlin was required to be filed by August 1.               On August 15,

his trial counsel filed a Motion for Extension of Time for the

filing of a notice.          The motion sought an extension for “a period

of 30 days from the expiration of the time otherwise prescribed

by [Fed. R. App. P. 4(b)(1)].”            Having determined August 1 to be

the date prescribed for filing the notice of appeal, I have

further determined that August 30 was the last date on which I

would have authority to extend the time for filing a belated

notice of appeal.         McLaughlin’s trial counsel filed a notice of

appeal on August 30.

        Moreover, his counsel has provided an explanation I find

satisfactory for his negligent failure to file a timely notice of

appeal, specifically that he “was under the mistaken belief the

Notice of Appeal was due to be filed within 30 days.”                Moreover,

trial counsel erroneously advised McLaughlin that a 30 day appeal

period was available.          The mistaken 30 day period was not simply

plucked out of the air.          It is the established appeal period

under Massachusetts criminal practice.             See Mass. R. App. P. 4

(b).4       Reliance upon it in this setting was “excusable neglect.”


        4
       In the wake of Pioneer Inv. Servs. Co. v. Brunswick
Assocs. Ltd. Partnership, 507 U.S. 380 (1993), lower courts
recognized that the Supreme Court had “signaled a substantial
degree of elasticity in the definition of ‘excusable neglect.’”
Pratt v. Philbrook, 109 F.3d 18 (1st Cir. 1991). The Second
Circuit, for example, overruled more stringent pre-Pioneer
authority, in a case somewhat like this where a paralegal charged

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     McLaughlin’s counsel, in his motion to extend, recited that

the fundamental source of delay in filing a notice of appeal was

the result of “initial uncertainty as to whether to pursue an

appeal complicated by health issues on the part of the defendant”

and by “arrangements to retain new counsel for appeal.”           The full

period of 30 days in which an extension could be authorized was

requested because of August vacation schedules for both trial and

appellate counsel.    And ultimately, unlike Williams, McLaughlin

has filed an actual notice of appeal leaving no uncertainty about

his determination to appeal within the time period authorized for

an extension to do so.

                                   III.

     For the reasons set forth more fully above, the motion

(#727) for reconsideration in United States v. Williams, Criminal

No. 10-10440-DPW, is DENIED and the motion (#57) for extension of




with filing a notice of appeal “mistakenly believed that she had
thirty days to file the notice.” United States v. Hooper, 9 F.3d
257, 258 (2d Cir. 1993). While I recognize a split in the
circuits over whether mistake by a defendant’s legal
representative regarding the appeal period for criminal cases can
constitute “excusable neglect,” compare United States v. Madrid,
633 F.3d 1222, 1227-28 (11th Cir. 2011) (abuse of discretion to
find excusable neglect where trial counsel erroneously thought he
had 30 days in which to file a notice of appeal), having
addressed on behalf of the First Circuit “the latitudinarian
standards for excusable neglect” outlined by the Supreme Court in
Pioneer, I am comfortable exercising my discretion to treat such
a mistake as excusable. I note, moreover, the government
expressly chose not to object to the motion to extend filed by
McLaughlin.

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time to file a notice of appeal in United States v. McLaughlin,

Criminal No. 13-10023, is ALLOWED.




                                  /s/ Douglas P. Woodlock
                                  DOUGLAS P. WOODLOCK
                                  UNITED STATES DISTRICT JUDGE




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